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Madison County S T
TATE OF ENNESSEE Case Number
CIVIL SUMMONS CV-
page | of 1 TF 5Y 3
The Cincinnati Insurance Co. a corporation, Vs CRST International, CRST Expedite ee
as Sub f DK USA, INC. Solutions, and Antonio Tinsley, et alice. 4. /OU igg=
ServedOn; " ft i AND REqut BA DSR
CRST International, 201 Ist St. SE, Cedar Rapids, IA 52401 “Sanaa tn Pj} cA ASSisTani 7
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L331 .Qe All
i ‘ ZOOM. QIN ~
You are hereby summoned to defend a civil action filed against you in Chancery Court, Madison County, Tennestde) / 0

 

Your defense must be made within thirty (30) days from the date this summons is served upon you. You are directed to file your defense with the
clerk of the court and send a copy to the plaintiff's attorney at the address listed belopy, ,If yi il ef fend this action by the below date, judgment
by default may be rendergd against you for the relief sought in the complaint. f AW CAR ER LERK & MASTER

Tv)

Clerk / Deputy Glerk \

Issued:

 

Gregory A. Eldridge, Pro Hac Vice pending

Attorney for Plaintiff:
P.O. Box 1347, Mobile, AL 36633, (251) 344-8181; GAE@sshlawpe.com

 

 

 

NOTICE OF PERSONAL PROPERTY EXEMPTION
TO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10,000) personal property exemption as well as a homestead exemption
from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon your age and the other factors which are
listed in TCA § 26-2-301. If a judgment should be entered against you in this action and you wish to claim property as exempt, you must file a
written list, under oath, of the items you wish to claim as exempt with the clerk of the court. The list may be filed at any time and may be changed by
you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed; these include items of necessary
wearing apparel (clothing) for your self and your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family
Bible, and schoo! books. Should any of these items be seized you would have the right to recover them. If you do not understand your exemption
right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state file number on list.

Mail list to > Clerk, County

 

 

CERTIFICATION (IF APPLICABLE)

, > Clerk of County do certify this to be a true and correct copy of
the original summons issued in this case.

Date:

 

Clerk / Deputy Clerk

 

OFFICER’S RETURN: Please execute this summons and make your return within ninety (90) days of issuance as provided by law.

I certify that | have served this summons together with the complaint as follows:

 

 

Date: By:

 

Officer, Title

 

 

 

RETURN ON SERVICE OF SUMMONS BY MAIL: | hereby certify and return that on , | sent postage

prepaid, by registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in the above

 

 

 

 

 

 

styled case, to the defendant . On I received the return receipt, which had been signed by
on . The return receipt is attached to this original summons to be filed by the Court Clerk,
Date:
Notary Public / Deputy Clerk (Comm. Expires )
Signature of Plaintiff Plaintiff's Attorney (or Person Authorized to Serve Process)

(Attach return receipt on back)

 

 

ADA: If you need assistance or accommodations because of a disability, please call , ADA Coordinator, at(_)

EXHIBIT Rev, 03/11

Pr

 
Case 1:20-cv-01226-STA-jay Document 1-1 Filed 10/09/20 Page 2of16 PagelD7

Dero.

Wy,
IN THE CHANCERY COURT OF MADISON COUNTY, TENNESSEE 8

CINCINNATI INSURANCE COMPANY,
as Subrogee of DK USA, INC.,

CASE NO.:
Plaintiff,
CV
Vv.

CRST INTERNATIONAL, CRST
EXPEDITED SOLUTIONS, and
ANTONIO TINSLEY, A, B, C, D, E. and F
being a _ firm, person, partnership,
corporation or other entities who owned,
operated, maintained, employed or
supervised the driver or tractor trailer
truck at issue in this case. Plaintiff avers
that the identities of the fictitious party
Defendant(s) listed herein are otherwise
unknown to Plaintiff at this time, or if
known to Plaintiff at this time, the
identities of such as proper party
Defendants is not known to the Plaintiff at
this time, but will be inserted by Way of
Amendment when ascertained, jointly and
severally,

FILED
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SEP 25 2020

PAM CARTER

BK &@ MASTER

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BY: _# » Lora =
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QO? CO? LD GP GP CGP UO? CO WP WO? COD WGP COP COP 2 G2 CO? CO? UF? U2 7 LD LD LD) LI LD.

Defendants.

 

COMPLAINT

 

COMES NOW, Plaintiff, CINCINNATI INSURANCE COMPANY, as Subrogee of DK
USA, INC (hereinafter "DK USA"), by and through undersigned counsel, and files its Complaint
against Defendants, CRST INTERNATIONAL, CRST EXPEDITED SOLUTIONS, and

ANTONIO TINSLEY, A, B, C, D, E and F as follows:
Case 1:20-cv-01226-STA-jay Document 1-1 Filed 10/09/20 Page 3of16 PagelD 8

1. At all times material to this action, CINCINNATI INSURANCE COMPANY
(hereinafter "Cincinnati") was a foreign corporation licensed to do business in the State of
Tennessee.

2 Plaintiffs subrogor, DK USA, Inc. (hereinafter ‘DK USA), is a domestic
corporation, licensed to do business in the State of Tennessee.

3. At all times material to this action, the Defendant, CRST INTERNATIONAL,
upon information and belief, was a domestic corporation, licensed to do business in the State of
Tennessee.

4. At all times material to this action, the Defendant, CRST EXPEDITED
SOLUTIONS, upon information and belief, was a domestic corporation, licensed to do business
in the State of Tennessee,

5. At all times material to this action, the Defendant, Antonio Tinsley, upon
information and belief, is an adult resident of Macon, GA and an employee and driver for CRST
INTERNATIONAL and CRST EXPEDITED SOLUTIONS and was a trainee driver at the time
of this incident.

6. Defendants A, B, C, D, E, and F are those persons, firms, corporations or other
entities or employees of those persons, firms, corporations, or other entities who owned,
operated, maintained, employed or supervised the driver or tractor trailer truck at issue in this
case or otherwise whose conduct proximately caused damage to the Plaintiff and whose true and
correct legal identities are unknown to the plaintiff at this time, but will be added by amendment

when ascertained,
Case 1:20-cv-01226-STA-jay Document 1-1 Filed 10/09/20 Page 4of16 PagelID9

7. The incident made the basis of this Complaint occurred within the jurisdictional
boundaries of Madison County, Tennessee.

8. The incident made the basis of this Complaint occurred during the effective term
of an insurance policy between Cincinnati and its subrogor, DK USA. Under the terms of said
policy, Cincinnati bargained for and obtained the right to institute this civil proceeding against
the Defendants for the incident made the basis of this Complaint.

9, On or about October 3, 2017, in Jackson, Tennessee, at approximately 6:00 am at
the Gulf Gas Station, owned and operated by the Plaintiff DK USA, located at 2112 Highway 70
East, a commercial tractor trailer rig operated by Antonio Tinsley and/or CRST International
and/or CRST Expedited Solutions was attempting to turn around in the Gulf Gas station parking
lot when the trailer struck a diesel pump, causing damage and a rupture in the diesel supply line,
resulting in significant property damage and diesel fuel leakage.

10. At the time of the above-described incident, Defendant Tinsley was operating the
tractor-trailer rig within the line and scope of his employment as an agent and/or employee of
Defendant CRST International and/or Defendant CRST Expedited Solutions.

11. The collision with the diesel pumps caused significant and extensive damage to
the property, significant diesel fuel leakage and spillage from the pump, lost business income due
to the required closing of the business during repairs, as well as significant environmental
impacts and damage from the leaking diesel fuel.

12. Following the incident, DK USA submitted a claim to Cincinnati for the damages

caused by the tractor trailer striking the fuel pump and other related damages, and pursuant to the
Case 1:20-cv-01226-STA-jay Document 1-1 Filed 10/09/20 Page5of16 PagelD 10

terms of the policy of insurance between DK USA and Cincinnati, Cincinnati paid its insured
$573,232.60.
COUNT ONE - NEGLIGENCE

13. Plaintiff adopts and realleges the allegations contained in paragraphs 1 through 12
hereinabove and incorporate same as if fully set out herein.

14. Defendants CRST International and/or CRST Expedited Solutions and/or Antonio
Tinsley and/or Defendants A-F were negligent at the time of the incident by attempting to turn and
navigate through a gas station resulting in the tractor trailer striking a fuel pump causing significant
damage. Furthermore, the defendants CRST International and/or CRST Expedited Solutions were
negligent by allowing and entrusting a trainee driver to attempt to turn around and navigate a
commercial tractor trailer rig through a gas station lot without supervision and while the trainer and
supervisor was sleeping in the rear of the cab, resulting in the tractor trailer striking the fuel pump
and causing significant property damage as set forth hereinabove. Furthermore, Defendants failed
to properly supervise the Defendant Antonio Tinsley on the day of the loss, Said negligence and
failure proximately resulted in the damages claimed.

15. Asa proximate result of the aforesaid negligence of the Defendants, and pursuant
to the aforesaid policy of insurance, Cincinnati paid its insured $573,232.60.

WHEREFORE, the Plaintiff, Cincinnati Insurance Company, as Subrogee of DK USA,
demands judgment against Defendants, CRST INTERNATIONAL, CRST EXPEDITED
SOLUTIONS, ANTONIO TINSLEY, and A-F in the amount of FIVE HUNDRED SEVENTY
THREE THOUSAND, TWO HUNDRED THIRTY TWO and 60/100 DOLLARS ($573,232.60),

and for such other, further, or additional relief as the Court may deem just and proper.
Case 1:20-cv-01226-STA-jay Document 1-1 Filed 10/09/20 Page6of16 PagelD 11

COUNT TWO — NEGLIGENT HIRING, RETENTION, MONITORING, SUPERVISION,
AND OR TRAINING

16. Plaintiff adopts and realleges the allegations contained in paragraphs 1 through
15 hereinabove and incorporate same as if fully set out herein.

17. Defendants CRST International and/or CRST Expedited Solutions and or A-F
negligently hired, trained (or failed to adequately train), monitored (or failed to adequately
monitor), supervised (or failed to adequately supervise), instructed (or failed to adequately
instruct) Antonio Tinsley and as a proximate result Plaintiff suffered damages set forth
hereinabove.

18. The damages suffered by the Plaintiff as set out hereinabove were the proximate
result of the negligence of the Defendants CRST International and/or CRST Expedited Solutions
in one or more of the following respects:

a, Negligently failing to properly and/or adequately educate, train and/or supervise
Defendant Antonio Tinsley;

b. Negligently failing to adequately instruct, monitor and/or direct the driver of the
aforesaid tractor-trailer involved in the incident made the basis of this lawsuit;

C. Negligently failing to determine whether the driver of the aforesaid tractor-trailer
was properly qualified;

d, Negligently hiring and/or retaining Defendant Antonio Tinsley;

<. Negligently operating a commercial vehicle by an unqualified and/or

incompetent driver;
Case 1:20-cv-01226-STA-jay Document 1-1 Filed 10/09/20 Page 7of16 PagelD 12

f. Negligently failing to institute an adequate safety program for all drivers of

commercial motor vehicles utilized by these Defendants,

19. As aproximate result of the aforesaid negligence of the Defendants, and pursuant

to the aforesaid policy of insurance, Cincinnati paid its insured $573,232.60.

WHEREFORE, the Plaintiff, Cincinnati Insurance Company, as Subrogee of DK USA,

demands judgment against Defendants, CRST INTERNATIONAL, CRST EXPEDITED

SOLUTIONS, ANTONIO TINSLEY and A-F in the amount of FIVE HUNDRED SEVENTY

THREE THOUSAND, TWO HUNDRED THIRTY TWO and 60/100 DOLLARS

($573,232.60), plus pre-judgment interest, attorney fees, costs of this action and for such

other, further, or additional relief as the Court may deem just and proper.

By:

Gx

Respectfully submitted,

ANDERSON & REYNOLDS, PLC

aed

Gregory A. fldridge, Pro Hac Kice p Kice nfnding
BPR #PHV86619

169 Dauphin St. Suite 200

Mobile, AL 36602

(251) 344-8181

gae@sshlawpc.com

Lotavo~

Steven E. Anderson, BPR #13143
Anderson & Reynolds PLC

120 30th Ave. North

Nashville, TN 37203

(615) 942-1700
sanderson@andersonreynolds.com
sreynolds@andersonreynolds.com
Case 1:20-cv-01226-STA-jay Document 1-1 Filed 10/09/20 Page 8of16 PagelD 13

DEFENDANTS TO BE SERVED BY COUNSEL AS FOLLOWS:

VIA CERTIFIED MAIL

CRST INTERNATIONAL
201 Ist St. SE
Cedar Rapids, lowa 52401

CRST Expedited Solutions
1332 Edgewood Rd. SW
Cedar Rapids, lowa 52404

Antonio Tinsley
797 Grosso Ave
Macon, GA 31204

STATE OF TENNESSEE

COUNTY OF MADISON

|, Pam Carter, Clerk & Master of the ;
Chancery Cor at Jackson, Tennegsee, certify
that the foregoihg-and attached,is/a true cop

 
     
 
 
 

   

  
 

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Madison County S T
TATE OF ENNESSEE Case Number
CIVIL SUMMONS _ CY 3
page | of 1 - hoy | S Y
The Cincinnati Insurance Co. a corporation, Vs.  CRST International, CRST Expedited’ j a, ,
as Subr f DK USA, INC. Solutions, and Antonio Tinsley, et al oll, - NEQ pte Aa
Served On: assuproeee © oe Pn psa A f US a
CRST Expedited Solutions, 1332 Edgewood Rd., SW, Cedar Rapids, IA 5240/7 “Ase Son UTP
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. Wfl)>
You are hereby summoned to defend a civil action filed against you in Chancery Court, Madison County, Tonndiste, 7 O

 

 

Your defense must be made within thirty (30) days from the date this summons is served upon you. You are directed to file your defense with the
clerk of the court and send a copy to the plaintiff's attorney at the address listed below. If you fail to defend this action by the below date, judgment

by default may be rendeyed againstyyou for the relief sought in the complaint. PAM CARTER CLERK & MASTER
. ’ - t or
Issued: FG aes LH) b ot D O Vom hae

: : " N Clerk / Deputy Clerk yo v
, Gregory A. Eldridge, Pro Hac Vice pending

Attorney for Plainti
P.O. Box 1347, Mobile, AL 36633, (251) 344-8181; GAE@sshlawpc.com

 

 

 

NOTICE OF PERSONAL PROPERTY EXEMPTION
TO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10,000) personal property exemption as well as a homestead exemption
from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon your age and the other factors which are
listed in TCA § 26-2-301. Ifa judgment should be entered against you in this action and you wish to claim property as exempt, you must file a
written list, under oath, of the items you wish to claim as exempt with the clerk of the court, The list may be filed at any time and may be changed by
you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed; these include items of necessary
wearing apparel (clothing) for your selfand your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family
Bible, and school books, Should any of these items be seized you would have the right to recover them. If you do not understand your exemption
right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state file number on list.

Mail list to * Clerk, County

 

 

CERTIFICATION (IF APPLICABLE)

1, : Clerk of County do certify this to be a true and correct copy of
the original summons issued in this case.

Date:

 

 

Clerk / Deputy Clerk
OFFICER’S RETURN: Please execute this summons and make your return within ninety (90) days of issuance as provided by law.

 

I certify that | have served this summons together with the complaint as follows:

 

 

 

 

Date: By:
Officer, Title

 

 

 

RETURN ON SERVICE OF SUMMONS BY MAIL: [hereby certify and return that on , I sent postage

prepaid, by registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in the above
styled case, to the defendant . On 1 received the return receipt, which had been signed by

on . The return receipt is attached to this original summons to be filed by the Court Clerk.

Date:

 

 

Notary Public / Deputy Clerk (Comm, Expires

 

 

 

Signature of Plaintiff Plaintiff's Attorney (or Person Authorized to Serve Process)
(Attach return receipt on back)

 

 

ADA: If you need assistance or accommodations because of a disability, please call , ADA Coordinator, at ( )

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Case 1:20-cv-01226-STA-jay Document 1-1 Filed 10/09/20 Page 10o0f16 PagelD 15

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IN THE CHANCERY COURT OF MADISON COUNTY, TENNESSEE

CINCINNATI INSURANCE COMPANY,
as Subrogee of DK USA, INC.,

Lr

CASE NO.:

CV. 1SY3

Plaintiff,
Vv.

CRST INTERNATIONAL, CRST
EXPEDITED SOLUTIONS, and
ANTONIO TINSLEY, A, B, C, D, E. and F
being a firm, person, partnership,
corporation or other entities who owned,
operated, maintained, employed or
supervised the. driver or tractor trailer
truck at issue in this case. Plaintiff avers
that the identities of the fictitious party
Defendant(s) listed herein are otherwise
unknown to Plaintiff at this time, or if
known to Plaintiff at this time, the
identities of such as proper party
Defendants is not known to the Plaintiff at
this time, but will be inserted by Way of
Amendment when ascertained, jointly and
severally,

-|LED
TIME: "@: D0 —

SEP 2 75 2020

 

Defendants.

> G2 (CO) LP) GP LG LO) LP LP? OL? LO) U2 CO) LP) OP? LP LD LD 1 LL. LD LN

 

COMPLAINT

 

COMES NOW, Plaintiff, CINCINNATI INSURANCE COMPANY, as Subrogee of DK
USA, INC (hereinafter "DK USA"), by and through undersigned counsel, and files its Complaint
against Defendants, CRST INTERNATIONAL, CRST EXPEDITED SOLUTIONS, and

ANTONIO TINSLEY, A, B, C, D, E and F as follows:
Case 1:20-cv-01226-STA-jay Document 1-1 Filed 10/09/20 Page 11of16 PagelD 16

1. At all times material to this action, CINCINNATI INSURANCE COMPANY
(hereinafter "Cincinnati") was a foreign corporation licensed to do business in the State of
Tennessee.

2. Plaintiffs subrogor, DK USA, Inc. (hereinafter ‘DK USA), is a domestic
corporation, licensed to do business in the State of Tennessee.

3. At all times material to this action, the Defendant, CRST INTERNATIONAL,
upon information and belief, was a domestic corporation, licensed to do business in the State of
Tennessee.

4. At all times material to this action, the Defendant, CRST EXPEDITED
SOLUTIONS, upon information and belief, was a domestic corporation, licensed to do business
in the State of Tennessee.

3. At all times material to this action, the Defendant, Antonio Tinsley, upon
information and belief, is an adult resident of Macon, GA and an employee and driver for CRST
INTERNATIONAL and CRST EXPEDITED SOLUTIONS and was a trainee driver at the time
of this incident.

6. Defendants A, B, C, D, E, and F are those persons, firms, corporations or other
entities or employees of those persons, firms, corporations, or other entities who owned,
operated, maintained, employed or supervised the driver or tractor trailer truck at issue in this
case or otherwise whose conduct proximately caused damage to the Plaintiff and whose true and
correct legal identities are unknown to the plaintiff at this time, but will be added by amendment

when ascertained.
Case 1:20-cv-01226-STA-jay Document 1-1 Filed 10/09/20 Page 12o0f16 PagelD 17

7. The incident made the basis of this Complaint occurred within the jurisdictional
boundaries of Madison County, Tennessee.

8. The incident made the basis of this Complaint occurred during the effective term
of an insurance policy between Cincinnati and its subrogor, DK USA. Under the terms of said
policy, Cincinnati bargained for and obtained the right to institute this civil proceeding against
the Defendants for the incident made the basis of this Complaint.

9. On or about October 3, 2017, in Jackson, Tennessee, at approximately 6:00 am at
the Gulf Gas Station, owned and operated by the Plaintiff DK USA, located at 2112 Highway 70
East, a commercial tractor trailer rig operated by Antonio Tinsley and/or CRST International
and/or CRST Expedited Solutions was attempting to turn around in the Gulf Gas station parking
lot when the trailer struck a diesel pump, causing damage and a rupture in the diesel supply line,
resulting in significant property damage and diesel fuel leakage.

10. At the time of the above-described incident, Defendant Tinsley was operating the
tractor-trailer rig within the line and scope of his employment as an agent and/or employee of
Defendant CRST International and/or Defendant CRST Expedited Solutions.

11. The collision with the diesel pumps caused significant and extensive damage to
the property, significant diesel fuel leakage and spillage from the pump, lost business income due
to the required closing of the business during repairs, as well as si gnificant environmental
impacts and damage from the leaking diesel fuel.

12. Following the incident, DK USA submitted a claim to Cincinnati for the damages

caused by the tractor trailer striking the fuel pump and other related damages, and pursuant to the
Case 1:20-cv-01226-STA-jay Document 1-1 Filed 10/09/20 Page 130f16 PagelD 18

terms of the policy of insurance between DK USA and Cincinnati, Cincinnati paid its insured
$573,232.60.
COUNT ONE - NEGLIGENCE

13. Plaintiff adopts and realleges the allegations contained in paragraphs 1 through 12
hereinabove and incorporate same as if fully set out herein.

14. Defendants CRST International and/or CRST Expedited Solutions and/or Antonio
Tinsley and/or Defendants A-F were negligent at the time of the incident by attempting to turn and
navigate through a gas station resulting in the tractor trailer striking a fuel pump causing significant
damage. Furthermore, the defendants CRST International and/or CRST Expedited Solutions were
negligent by allowing and entrusting a trainee driver to attempt to turn around and navigate a
commercial tractor trailer rig through a gas station lot without supervision and while the trainer and
supervisor was sleeping in the rear of the cab, resulting in the tractor trailer striking the fuel pump
and causing significant property damage as set forth hereinabove. Furthermore, Defendants failed
to properly supervise the Defendant Antonio Tinsley on the day of the loss. Said negligence and
failure proximately resulted in the damages claimed.

15. Asa proximate result of the aforesaid negligence of the Defendants, and pursuant
to the aforesaid policy of insurance, Cincinnati paid its insured $573,232.60.

WHEREFORE, the Plaintiff, Cincinnati Insurance Company, as Subrogee of DK USA,
demands judgment against Defendants, CRST INTERNATIONAL, CRST EXPEDITED
SOLUTIONS, ANTONIO TINSLEY, and A-F in the amount of FIVE HUNDRED SEVENTY
THREE THOUSAND, TWO HUNDRED THIRTY TWO and 60/100 DOLLARS ($573,232.60),

and for such other, further, or additional relief as the Court may deem just and proper.
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COUNT TWO — NEGLIGENT HIRING, RETENTION, MONITORING, SUPERVISION,
AND OR TRAINING

16. Plaintiff adopts and realleges the allegations contained in paragraphs 1 through
15 hereinabove and incorporate same as if fully set out herein.

17. Defendants CRST International and/or CRST Expedited Solutions and or A-F
negligently hired, trained (or failed to adequately train), monitored (or failed to adequately
monitor), supervised (or failed to adequately supervise), instructed (or failed to adequately
instruct) Antonio Tinsley and as a proximate result Plaintiff suffered damages set forth
hereinabove.

18. The damages suffered by the Plaintiff as set out hereinabove were the proximate
result of the negligence of the Defendants CRST International and/or CRST Expedited Solutions
in one or more of the following respects:

a. Negligently failing to properly and/or adequately educate, train and/or supervise
Defendant Antonio Tinsley;

b. Negligently failing to adequately instruct, monitor and/or direct the driver of the
aforesaid tractor-trailer involved in the incident made the basis of this lawsuit;

e Negligently failing to determine whether the driver of the aforesaid tractor-trailer
was properly qualified;

d. Negligently hiring and/or retaining Defendant Antonio Tinsley;

é, Negligently operating a commercial vehicle by an unqualified and/or

incompetent driver;
Case 1:20-cv-01226-STA-jay Document 1-1 Filed 10/09/20 Page 15o0f16 PagelD 20

f. Negligently failing to institute an adequate safety program for all drivers of

commercial motor vehicles utilized by these Defendants;

19. Asa proximate result of the aforesaid negligence of the Defendants, and pursuant

to the aforesaid policy of insurance, Cincinnati paid its insured $573,232.60.

WHEREFORE, the Plaintiff, Cincinnati Insurance Company, as Subrogee of DK USA,

demands judgment against Defendants, CRST INTERNATIONAL, CRST EXPEDITED

SOLUTIONS, ANTONIO TINSLEY and A-F in the amount of FIVE HUNDRED SEVENTY

THREE THOUSAND, TWO HUNDRED THIRTY TWO and 60/100 DOLLARS

($573,232.60), plus pre-judgment interest, attorney fees, costs of this action and for such

other, further, or additional relief as the Court may deem just and proper.

By:

Respectfully submitted,

ANDERSON & REYNOLDS, PLC

EE a i

Gregory A. £ldridge, Pro Hac Kice p Roe ppading
BPR #PHV86619

169 Dauphin St. Suite 200

Mobile, AL 36602

(251) 344-8181

gae(@sshlawpc.com

fia Zante

‘Steven E. Anderson, BPR #13143
Anderson & Reynolds PLC

120 30th Ave. North

Nashville, TN 37203

(615) 942-1700
sanderson@andersonreynolds.com
sreynolds@andersonreynolds.com
Case 1:20-cv-01226-STA-jay Document 1-1 Filed 10/09/20 Page 16o0f16 PagelD 21

DEFENDANTS TO BE SERVED BY COUNSEL AS FOLLOWS:

VIA CERTIFIED MAIL

CRST INTERNATIONAL
201 Ist St. SE
Cedar Rapids, Iowa 52401

CRST Expedited Solutions
1332 Edgewood Rd. SW
Cedar Rapids, Iowa 52404

Antonio Tinsley
797 Grosso Ave
Macon, GA 31204

STATE OF TEN

PpUNTY OF MADISRE

aifam. ater, Clerk & Master of the

ih OLAt at Jackson, Tennessee, c ti
find attachedgs a true ca Aly

    
     
   
